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Attorneys for Defendants
PolarityTE, Inc.; Denver Lough; and Jeff Dyer


                             IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


JOSE MORENO, Individually, and on Behalf             NOTICE OF APPEARANCE OF
of All Others Similarly Situated,                    KENNETH B. BLACK
                       Plaintiff,                    Case No. 2:18-cv-00510-JNP
         v.
                                                     The Honorable Jill N. Parrish
POLARITYTE, INC.; DENVER LOUGH;
and JEFF DYER,

                       Defendants.


         PLEASE TAKE NOTICE that Kenneth B. Black of Stoel Rives LLP hereby appears as

counsel on behalf of Defendants PolarityTE, Inc.; Denver Lough; and Jeff Dyer in the above-

captioned action and requests that all further notices, inquiries, and copies of pleadings, papers or

other material relevant to this action be directed and served upon the following:

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         DATED: July 25, 2018
                                            STOEL RIVES LLP



                                            /s/ Kenneth B. Black
                                            Kenneth B. Black
                                            Michael R. Menssen

                                            Attorneys for Defendants
                                            POLARITYTE, INC.; DENVER LOUGH; and
                                            JEFF DYER




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 25th day of July, 2018, a true and correct copy of the

foregoing NOTICE OF APPEARANCE OF KENNETH B. BLACK was served to counsel

who have appeared electronically in this action.




                                                       /s/ Rose Gledhill




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